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                                                   1       Terence G. Banich (SBN 212173)1
                                                           terence.banich@katten.com
                                                   2       KATTEN MUCHIN ROSENMAN LLP
                                                           525 W. Monroe St.
                                                   3       Chicago, IL 60661-3693
                                                           Telephone: (312) 902-5200
                                                   4       Facsimile: (312) 902-1061
                                                   5       John E. Mitchell (pro hac vice forthcoming)
                                                           Michaela C. Crocker (pro hac vice forthcoming)
                                                   6       KATTEN MUCHIN ROSENMAN LLP
                                                           2121 North Pearl St., Ste. 1100
                                                   7       Dallas, TX 75201-2591
                                                           Telephone: (214) 765-3600
                                                   8       Facsimile: (214) 765-3602
                                                   9       Attorneys for the Receiver
                                                           Lance Miller
                                                  10

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KATTEN MUCHIN ROSENMAN LLP




                                                                                 UNITED STATES DISTRICT COURT
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                                                                                EASTERN DISTRICT OF CALIFORNIA
                             525 W. MONROE ST.
                              CHICAGO, IL 60661




                                                  13
                               (312) 902-5200




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                                                       THE PRUDENTIAL INSURANCE                              No. 1:24-cv-01102-KES-SAB
                                                       COMPANY OF AMERICA, et al.,
                                                  15
                                                                                                             NOTICE OF APPEARANCE
                                                                        Plaintiffs,                          OF TERENCE G. BANICH
                                                  16             v.
                                                  17   ACDF, LLC, et al.,
                                                  18                    Defendants.
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                                                           Designated as counsel for service pursuant to L.R. 182(c)(1).
                                                                                                                             No. 1:24-cv-01102-KES-SAB
                                                                                                                             NOTICE OF APPEARANCE
                                                       Case 1:24-cv-01102-KES-SAB Document 52 Filed 09/27/24 Page 2 of 3


                                                   1         TO THE HONORABLE COURT AND ALL PARTIES OF RECORD:
                                                   2         PLEASE TAKE NOTICE that Terence G. Banich, of Katten Muchin
                                                   3   Rosenman LLP and a member of the Bar of this Court, hereby appears as counsel
                                                   4   for Lance Miller, not individually, but solely in his capacity as the Receiver
                                                   5   appointed pursuant to the Agreed Order Appointing Receiver With Limited
                                                   6   Authority, dated September 25, 2024 [ECF #51].
                                                   7    Dated: September 27, 2024         Respectfully submitted,
                                                   8                                      KATTEN MUCHIN ROSENMAN LLP
                                                   9                                      By:   /s/Terence G. Banich
                                                                                                Terence G. Banich
                                                  10
                                                                                          Attorneys for the Receiver
                                                  11                                      Lance Miller
KATTEN MUCHIN ROSENMAN LLP




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                             525 W. MONROE ST.
                              CHICAGO, IL 60661




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                               (312) 902-5200




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                                                                                                                       NOTICE OF APPEARANCE
                                                       Case 1:24-cv-01102-KES-SAB Document 52 Filed 09/27/24 Page 3 of 3


                                                   1                                  PROOF OF SERVICE
                                                   2   STATE OF ILLINOIS, COUNTY OF COOK
                                                   3         At the time of service, I was over 18 years of age and not a party to this action.
                                                       I am employed in the County of Cook, State of Illinois. My business address is 525
                                                   4   W. Monroe St., Chicago, Illinois 60661. On September 27, 2024, I served the
                                                       following document(s) described as:
                                                   5
                                                             NOTICE OF APPEARANCE OF TERENCE G. BANICH
                                                   6
                                                       as follows:
                                                   7
                                                       [ ] BY MAIL: I enclosed the document(s) in a sealed envelope or package
                                                   8   addressed to the persons at the addresses listed above and placed the envelope for
                                                       collection and mailing, following our ordinary business practices. I am readily
                                                   9   familiar with Katten Muchin Rosenman LLP practice for collecting and processing
                                                       correspondence for mailing. On the same day that the correspondence is placed for
                                                  10   collection and mailing, it is deposited in the ordinary course of business with the
                                                       United States Postal Service, in a sealed envelope with postage fully prepaid.
                                                  11
KATTEN MUCHIN ROSENMAN LLP




                                                       [ ] BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused the
                                                  12   document(s) to be sent from e-mail address terence.banich@katten.com to the
                                                       persons at the e-mail address(es) listed below. I did not receive, within a reasonable
                             525 W. MONROE ST.




                                                  13
                              CHICAGO, IL 60661




                                                       time after the transmission, any electronic message or other indication that the
                               (312) 902-5200




                                                       transmission was unsuccessful.
                                                  14
                                                       [ ] BY OVERNIGHT MAIL (FedEx): I enclosed said document(s) in an
                                                  15   envelope or package provided by FEDEX and addressed to the persons at the
                                                       addresses listed above. I placed the envelope or package for collection and overnight
                                                  16   delivery at an office or a regularly utilized drop box of FEDEX or delivered such
                                                       document(s) to a courier or driver authorized by FEDEX to receive documents.
                                                  17
                                                       [ ] BY PERSONAL SERVICE: I caused said document to be personally
                                                  18   delivered the document(s) to the person at the addresses listed above by leaving the
                                                       documents in an envelope or package clearly labeled to identify the attorney being
                                                  19   served with a receptionist or an individual in charge of the office.
                                                  20   [X] E-FILING: By causing the document to be electronically filed via the Court’s
                                                       CM/ECF system, which effects electronic service on counsel who are registered with
                                                  21   the CM/ECF system.
                                                  22          I declare under penalty of perjury under the laws of the State of Illinois that
                                                       the foregoing is true and correct.
                                                  23
                                                             Executed on September 27, 2024, at Winnetka, Illinois.
                                                  24
                                                                                                      /s/Terence G. Banich
                                                  25                                                  Terence G. Banich
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                                                                                                                          No. 1:24-cv-01102-KES-SAB
                                                                                                                          NOTICE OF APPEARANCE
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